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                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF GEORGIA
                                COLUMBUS DIVISION

ERIC BROWN,                                   *
Individually and as Administrator             *
Of the EST ATE OF LORETTA LEWIS,              *
                                              *
       Plaintiff,                             *
                                              *
vs.                                           *       CIVIL ACTION FILE NO.:
                                              *
MEDSCOPE AMERICA                              *
CORPORATION, and                              *       JURY TRIAL DEMANDED
AVANTGUARD MONITORING                         *
CENTERS, LLC                                  *
                                              *
       Defendants.                            *
                                              *
                                            COMPLAINT

       COMES NOW Plaintiff Eric Brown, Individually and as Administrator of the Estate of

Loretta Lewis, by and through his counsel, and files his Complaint against MedScope America

Corporation and AvantGuard Monitoring Centers, LLC (collectively, "Defendants"), for the

wrongful death and conscious pain and suffering of his mother Loretta Lewis. Eric Brown

respectfully shows this Court as follows:

                      I.      PARTIES, JURISDICTION AND VENUE



       MedScope America Corporation ("MedScope") is a foreign corporation doing business in

Columbus, Muscogee County, Georgia, with its principal place of business at 222 W Lancaster

Avenue, Paoli, Pennsylvania 19301. Service of the Summons and Complaint may be served on

MedScope's registered agent, National Registered Agents, Inc., 289 S. Culver Street, Gwinnett

County, Lawrenceville, Georgia 30046-4805.



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                                                  2.

        AvantGuard Monitoring Centers, LLC ("AvantGuard") is a foreign limited liability

company doing business in Columbus, Muscogee County, Georgia, with its principle place of

business at 4699 Harrison Boulevard, Ogden, Utah 84403. None of the members of AvantGuard

Monitoring Centers, LLC are citizens of the State of Georgia. Service of the Summons and

Complaint may be served on AvantGuard's registered agent, CT Corporation System, 289 S.

Culver Street, Gwinnett County, Lawrenceville, Georgia 30046-4805.

                                                  3.

       Plaintiff Eric Brown is a resident of Muscogee County, Georgia. He is the surviving son

of Loretta Lewis and the Administrator of Loretta Lewis' Estate.

                                                  4.

       Jurisdiction is proper under 28 U.S.C. § 1332 in that there is diversity of citizenship and

the amount in controversy exceeds $75,000.00.

                                                  5.

       Venue is proper under 28 U.S.C. § 1391 (b)(2) in that a substantial part of the events or

omissions giving rise to the claims herein occurred in this district. In addition, because both

Defendants have substantial contacts with and do business in this district and division, this judicial

district is also regarded as their residence for venue purposes under 28 U.S.C. § 139l(c).

                                  II.     OPERATIVE FACTS

       A.      Loretta Lewis' Reliance and Purchase of the MedScope Alert System




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                                                6.

        On August 19, 2019, Loretta Lewis signed an Agreement with Med Scope for a Mobile

Pendant medical alarm system that provided two-way voice monitoring by MedScope and

AvantGuard Monitoring.

                                                7.

       According to MedScope's website, the Mobile Pendant is a "go anywhere device that

summons help to your exact location anywhe.-e in the United States. Pressing the alert button

on this small, lightweight, device activates 911 locating technology and two-way voice

communication." See, MedScope website printout attached as Exhibit A.

                                                8.

       The August 19, 2019 Agreement between Loretta Lewis and MedScope was to provide

continuous 24-hour monitoring service by AvantGuard of designated signals from the MedScope

Personal Emergency Response System, referred to as the "PERS". See, August 19, 2019

Agreement attached hereto as Exhibit B.

                                                9.

       Individuals, like Loretta Lewis, who require living assistance or help in an unexpected

emergency can benefit from a Personal Emergency Response System (PERS) with 24/7 PERS

monitoring services.

                                               10.

       Prior to signing the August 19, 2019 Agreement, Loretta Lewis and her son, Eric Brown,

researched medical alert device systems on the Internet.




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                                                11.

       Loretta Lewis and Eric Brown studied information found on MedScope's website, as well

as informational videos and tutorials regarding MedScope's devices on the Internet and YouTube.

                                               12.

       The videos that Loretta Lewis and Eric Brown watched and relied upon on Y ouTube were

placed there by MedScope America Corporation on or around May 30, 2013. See, Screenshot of

MedScope Y ouTube video attached hereto as Exhibit C.

                                               13.

       MedScope's advertisements on the Internet are to the general consuming public.

                                               14.

       MedScope advertises on the Internet to the general consuming public in an effort to sell its

medical alert devices.

                                               15.

       The MedScope Y ouTube videos have thousands of views and are intended to persuade

consumers to choose MedScope over other companies for medical alert monitoring.

                                               16.

       MedScope's advertisements are made to the elderly and/or disabled with the intention to

persuade them to purchase Med Scope's products.

                                               17.

       The May 30, 2013 MedScope Y ouTube video depicts an elderly lady that has fallen in her

kitchen. Once alerted to the fall, the MedScope operator states that "we will send someone

immediately and we will contact your physician."




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                                                 18.

        The May 30, 2013 MedScope YouTube video states that "the MedScope Emergency

Response System enables a person living alone or at risk of falls or has other medical or age-related

concerns to get help at once in case of an emergency."

                                                 19.

       The May 30, 2013 MedScope YouTube video also states that "MedScope monitoring

personnel are highly skilled representatives and are on call 24 hours a day 7 days a week."

                                                20.

       The May 30, 2013 MedScope YouTube video also states that "when an alert signal is

received, they have access to up-to-date medical records, as well as current phone numbers for all

emergency contacts and the preferred physician."

                                                21.

       MedScope's advertisements are deceptive and affect the general consuming public interest.

                                                22.

       MedScope advertises on the Internet that "calls are answered by our 9-1-1 certified

response operators who dispatch help as needed."

                                                23 .

      . As is standard in the alarm company industry, MedScope contracts with a third-party

monitoring center to answer alarm calls. MedScope's reference to "our 9-1-1 certified response

operators" is actually Med Scope's partner A vantGuard' s response operators.

                                                24.

       MedScope knows that many of its customers are vulnerable and are often suffering from a

medical disability.



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                                                25.

         MedScope advertises to and knows that its consumers are often elderly and/or disabled and

are living alone.

                                                26.

         MedScope advertises to consumers that are living alone with the expectation that those

consumers living alone would benefit from a medical alert device system in the case of an

emergency.

                                                27.

         MedScope partners with Defendant AvantGuard Monitoring to field their customer's

emergency alert calls.

                                                28.

         According to its website, AvantGuard Monitoring's "mission is to provide professional

monitoring solutions that save lives, protect property, and inspire peace of mind." See, AvantGuard

Monitoring Website printout attached hereto as Exhibit D.

                                                29.

         According to its website, "AvantGuard offers the most reliable PERS monitoring service

available, with a commitment to providing a fast, professional, compassionate response for each

and every signal."

                                                30.

         It is AvantGuard's practice to retain all recordings; however, when requested by Plaintiff

for the recording regarding Loretta Lewis' medical alert on December 11, 2019, AvantGuard stated

that the call was lost and referenced a computer glitch as explanation of why the call cannot be

found.



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                                                 31.

        On March 18, 2020, Plaintiff requested the recording of Loretta Lewis' December 11, 2019

medical alert; however, AvantGuard failed to preserve the recording of Loretta Lewis' December

11, 2019 medical alert.

                                                 32.

       When asked why A vantGuard did not preserve the December 11, 2019 recording,

AvantGuard stated that "during our investigation of where the recording could be we found that it

had been a part of a batch of recordings that were lost during our transition from our old recording

storage to our new recording storage."

                                                 33.

        According to AvantGuard's website, "PERS and mobile PERS offer their users a true

sense of freedom and safety, knowing they can receive emergency assistance from A vantGuard

with the push of a button. Seniors seeking to maintain independence as they age, family and

professional caregivers seeking peace of mind, along with security sensitive students, lone

workers, and mobile workers who spend significant time alone are all great candidates for this

service."

                                                 34.

       According to AvantGuard' s website, "in the event of a medical emergency or safety threat,

PERS dealers and their customers need to know that their monitoring service will be there for

them, no matter what. AG Monitoring has invested aggressively to achieve 100% redundancy to

ensure the safety and security of your customers. We regularly test our failover system to make

sure that if a disaster impacts one monitoring center location, the other will take the calls at full

capacity without a hitch."



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                                               35.

       Because of the life-critical nature of PERS devices, Central Station Redundancy is a must

have. PERS users live in unpredictable circumstances and cannot afford to go without service in

time of need.

                                               36.

       A vantGuard advertises on its website that "we partner with the best companies to help your

business grow and succeed."

                                               37.

       A vantGuard and MedScope hold themselves out as partners.

                                               38.

       Loretta Lewis was deceptively and unfairly duped by MedScope and A vantGuard into the

consumer transaction wherein she received a mobile pendant medical alert system that was

supposed to notify emergency personnel of her "exact location anywhere in the United States" and

was supposed to be monitored by 911 certified response operators that would immediately send

someone to her location and call her physician upon notice of a medical alert.

       B.       Loretta Lewis' December 11, 2019 Medical Distress Call

                                               39.

       On December 11, 2019, Loretta Lewis could not breathe and activated her MedScope

PERS device around 11 :43 a.m. EST.

                                               40.

       Loretta Lewis was in her home alone and the doors were locked.




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                                               41.

       According to MedScope's "detailed activity report", Loretta Lewis told MedScope at 11 :43

am that she "cannot breathe".

                                               42.

       After Loretta Lewis activated her emergency medical alert system and spoke with an

operator, the operator called 911 and identified that she was with "the MedScope Monitoring

Center".

                                               43.

       The "MedScope Monitoring Center" is actually A vantGuard Monitoring.

                                               44.

       Once connected with 911, the MedScope Monitoring Center operator informed 911 that

Loretta Lewis was just "having trouble breathing" not that she could not breathe.

                                               45.

       The MedScope Monitoring Center operator failed to inform 911 that Loretta Lewis

"cannot breathe. "

                                               46.

       The MedScope Monitoring Center operator failed to inform 911 that Loretta Lewis was

home alone.

                                               47.

       The MedScope Monitoring Center operator failed to gain sufficient information for 911

regarding Loretta Lewis' condition and whereabouts in her home.




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                                              48.

        The MedScope Monitoring Center operator failed to gain sufficient information for 911

regarding whether or not Loretta Lewis' doors were locked or whether or not she was inside her

home.

                                              49.

        If the MedScope Monitoring Center would have gathered the correct information on behalf

of Loretta Lewis, the 911 operator would have known to dispatch a firetruck with EMS.

                                              50.

        If the MedScope Monitoring Center would have accurately reflected to the 911 operator

that Loretta Lewis "cannot breathe" as opposed to was "having trouble breathing", the 911

operator would have known to dispatch a firetruck with EMS.

                                              51.

        The MedScope Monitoring Center acted as Loretta Lewis' voice to the 911 operator

because Loretta Lewis was dying on her floor alone in her home with the doors locked for safety.

                                              52.

        EMS was dispatched at 11 :46 am, approximately 3 minutes after Loretta Lewis alerted

MedScope and A vantGuard Monitoring.

                                              53.

        When EMS arrived at Loretta Lewis' home, they discovered the doors were locked.

                                              54.

        EMS attempted to gain entry to Loretta Lewis' home, but was unsuccessful.

                                              55.

        EMS personnel called 911 and stated they could not gain entry into Loretta Lewis' home.



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                                               56.

        Columbus 911, in response to the call from EMS, dispatched a Columbus Fire crew at

11 :58, approximately 15 minutes after Loretta Lewis alerted MedScope and AvantGuard of her

emergency.

                                               57.

       Columbus 911 would have dispatched a Columbus Fire crew immediately had Loretta

Lewis' condition been accurately reported by MedScope and AvantGuard Monitoring to the

Columbus 911 operator.

                                               58.

       Upon arrival, the Columbus Fire crew was able to gain entry into Loretta Lewis' home

through a back bedroom window.

                                               59.

       Once inside, the Columbus Fire crew found Loretta Lewis laying supine on the floor in her

bedroom. Loretta Lewis was barely breathing and moving her lips.

                                               60.

       It took approximately twenty-four (24) minutes from the time Loretta Lewis alerted

MedScope and its partner A vantGuard Monitoring about her condition until emergency personnel

were finally able to gain access and render aid because MedScope and its partner AvantGuard

Monitoring failed to adequately respond to Loretta Lewis' emergency alert.

                                               61.

       MedScope and its partner A vantGuard Monitoring waited approximately seventeen (17)

minutes before it contacted Loretta Lewis' next of kin about the emergency medical alert.




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                                                62.

          MedScope and its partner A vantGuard Monitoring should have known that Loretta Lewis

was home alone and unable to come to the door when she pressed her MedScope medical alert

device.

                                                63.

          MedScope and its partner AvantGuard Monitoring should have known that it was likely

that Loretta Lewis' doors were locked and that Loretta Lewis was not in a condition to get to her

door.

                                                64.

          MedScope and its partner A vantGuard Monitoring failed to provide adequate information

to the Columbus 911 operator on Loretta Lewis' behalf, including but not limited to the fact that

Loretta Lewis could not breathe, the fact that Loretta Lewis was home alone with her doors locked,

Loretta Lewis' physical location in her home, Loretta Lewis' inability to answer the door when

emergency personnel arrived, Loretta Lewis' emergency contact information, and/or Loretta

Lewis' medical history.

                                                65.

          MedScope's and its partner AvantGuard Monitoring's role in any emergency is to quickly

answer the medical alarm button call, triage the customer's needs and location, and dispatch the

appropriate local agency to handle the call.

                                                66.

          MedScope and its partner A vantGuard Monitoring negligently failed to properly triage

Loretta Lewis' need and location.




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                                                  67.

        Unfortunately, because of the amount of time that passed between MedScope and its

partner A vantGuard Monitoring alerting emergency personnel and when medical treatment was

provided, Loretta Lewis was hospitalized and ultimately died in the hospital 3 days later.

                                                 68.

        The first listed immediate cause of Loretta Lewis' death was anoxic brain injury.

                                  III.    CAUSES OF ACTION

    COUNT ONE -- VIOLATION OF GEORGIA FAIR BUSINESS PRACTICE ACT

                                                 69.

        Plaintiff incorporates paragraphs 1 through 68 herein.

                                                 70.

        Defendants have engaged in unfair or deceptive acts or practices in the conduct of

consumer acts or practices in trade or commerce in the state of Georgia in violation of O.C.G.A. §

10-1-393 (a).

                                                 71.

        Defendants are partners within the meaning of Georgia's Fair Business Practices Act.

                                                 72.

       Loretta Lewis was deceptively and unfairly tricked into the consumer transaction of

purchasing MedScope PERS and the related monitoring and response services provided by

A vantGuard Monitoring believing that they met a particular standard, including having certain

qualities, characteristics, approval and certifications that these goods and services do not, in fact,

have or meet.




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                                                  73.

        For example, MedScope promises its customers, including Loretta Lewis, that emergency

distress calls will be answered by "9-1-1 certified response operators" who will "quickly answer

the medical alarm button call, triage the customer's needs and location, and dispatch the

appropriate local agency to handle the call." See e.g., MedScope Information sheet, attached

hereto as Exhibit E and 8/11/2020 Letter from MedScope President, attached hereto as Exhibit F.

                                                  74.

        MedScope promises its customers that by using and relying on MedScope's goods and

services in an emergency that MedScope operators will ensure that customers receive "the fastest

and most appropriate care" for their emergency.

                                                  75.

        MedScope and its partner A vantGuard Monitoring deceptively and unfairly dupes their

customers, including Loretta Lewis, into believing that the emergency response they receive by

using and relying on MedScope's PERS goods and services is at a minimum substantially the same

if not better than the emergency response they would receive by calling 9-1-1 directly.

                                                  76.

       MedScope's and its partner AvantGuard Monitoring's deceptive and unfair representations

have caused actual confusion or actual misunderstanding as to the particular standards, qualities,

characteristics, approval, affiliation, connection, associations and/or certifications concerning their

goods and services.




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                                                77.

       On December 11, 2019, Loretta Lewis detrimentally relied on the MedScope goods and

related services she purchased to perform as promised to provide her with the fastest and most

appropriate emergency response.

                                                78.

       However, instead of providing · her with the fastest and most appropriate emergency

response, Loretta Lewis' distress call was routed to MedScope's partner Defendant AvantGuard

Monitoring, a call center which answers various types of customer services calls for many different

compames.

                                                79.

       The emergency response provided to Loretta Lewis via her use of MedScope and

AvantGuard Monitoring's goods and services on December 11, 2019 did not meet the standards

and/or have the qualities, characteristics, approval and certifications of the emergency response

she would have received had Loretta Lewis called Columbus 9-1-1 directly.

                                                80.

       MedScope and its partner A vantGuard Monitoring advertised and promised to act as

Loretta Lewis' voice in her most urgent time of need.

                                                81.

       The emergency response provided to Loretta Lewis on December 11, 2019 via her use of

MedScope and AvantGuard Monitoring's goods and services was neither fast nor appropriate.

                                                82.

       Loretta Lewis died as a result of MedScope and AvantGuard Monitoring's violations of

Georgia law.



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                                                   83.

          On January 26, 2021, prior to filing the instant lawsuit, Plaintiff made a written demand to

Defendants under the Georgia Fair Business Practice Act, O.C.G.A. § 10-l-399(b). Attached

hereto as Exhibit G is a copy of this letter, the contents of which Plaintiff expressly incorporates

herein.

                                                   84.

          Defendants failed to make any offer of settlement within the time limit provided in

O.C.G.A. § 10-1-399(b).

                                                  85.

          Defendants' unfair and deceptive acts and/or practices described herein have the potential

to adversely affect the consumer marketplace and the economy in general.

                                                  86.

          Pursuant to O.C.G.A. § 10-1-399 (b)-(c), Defendants are liable for all damages arising from

Loretta Lewis' wrongful death, including for the full value of Loretta Lewis' life and her pain and

suffering prior to her death, which damages shall also be trebled.

                                                  87.

          Defendants are also liable for Plaintiffs attorneys' fees for their unlawful and deceptive

conduct.

  COUNT TWO - UNFAIR OR DECEPTIVE PRACTICES TOWARD THE ELDERLY

                                                  88.

          Plaintiff incorporates paragraphs 1 through 87 herein.




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                                                 89.

       Under Georgia law, individuals who violate the Georgia Fair Business Practices Act

(FBPA) are subject to additional civil penalties under the Georgia Unfair and Deceptive Practices

Towards the Elderly Act (UDPTEA) if the violation is committed against an elderly or disabled

person. See, O.C.G.A. § 10-1-850 et seq.

                                                 90.

       To state a claim under UDPTEA, a party must allege she is a disabled person or elder

person. O.C.G.A. § 10-1-850 (defining "disabled person" and "elder person"). A disabled person

is one "who has a physical or mental impairment which substantially limits one or more of such

person's major life activities." O.C.G.A. § 10-1-850(1).

                                                 91.

       Prior to her death, Loretta Lewis was a disabled person as defined in O.C.G.A § 10-1-850.

                                                 92.

       Loretta Lewis suffered from COPD that substantially limited her major life activities.

                                                 93.

       Major life activities" includes functions such as caring for one's self, performing manual

tasks, walking, seeing, hearing, speaking, breathing, learning, and working. O.C.G.A. § 10-1-850.

                                                 94.

       As a result of Loretta Lewis' disability, she purchased MedScope's PERS medical alert

system to assist her in the case of emergency.




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                                               95.

       Plaintiff relies on the same factual allegations found in the Fair Business Practices Act

claim to support the additional claim that MedScope and its partner AvantGuard Monitoring

violated the UDPTEA.

                                               96.

       MedScope's and AvantGuard Monitoring's violation of the UDPTEA caused Loretta

Lewis damages and ultimately her life.

                                               97.

       An elder or disabled person who suffers damage or injury as a result of an offense or

violation described in this article has a cause of action to recover actual damages, punitive

damages, if appropriate, and reasonable attorney's fees. See, O.C.G.A. § 10-1-853

                                               98.

       MedScope' s and its partner AvantGuard Monitoring' s conduct that resulted in the violation

of the UDPTEA warrants an award of actual damages, punitive damages, and attorney's fees.

                                               99.

       Plaintiff seeks an award of actual damages, punitive damages, and attorney's fees for

MedScope's and its partner AvantGuard Monitoring's violation of the UDPTEA in an amount to

be determined by the enlightened conscious of a jury.

                             COUNT THREE - NEGLIGENCE

                                              100.

       Plaintiff incorporates paragraphs 1 through 99 herein.




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                                                 101.

       Under Georgia law, "[o]ne who undertakes, gratuitously or for consideration, to render

services to another which he should recognize as necessary for the protection of a third person or

his things, is subject to liability to the third person for physical harm resulting from his failure to

exercise reasonable care to protect his undertaking, if (a) his failure to exercise reasonable care

increases the risk of such harm, or ... (c) the harm is suffered because of reliance of the other or

the third person upon the undertaking." Crewey v. Am. Med. Response of Ga., Inc., 303 Ga. App.

258, at *263 (quoting Restatement 2d Torts§ 324A (a), (c)).

                                                 102.

       Defendants MedScope and its agent/partner AvantGuard Monitoring were negligent in

their attempt to provide Loretta Lewis with a timely and appropriate emergency response.

                                                 103.

       Defendants' collective negligent failure to provide Loretta Lewis with a timely and

appropriate emergency response resulted in Loretta Lewis' death.

                                                 104.

       Loretta Lewis' death was a direct and proximate result of the delay in receiving a timely

and appropriate emergency response to her distress call.

                                                 105.

       Loretta Lewis' death was a direct and proximate result of the negligent manner in which

Defendants collectively failed to gather appropriate information, including but not limited to

Loretta Lewis' exact whereabout, whether or not Loretta Lewis could get to her door, whether or

not Loretta Lewis' doors were locked, Loretta Lewis' medical history, the fact that Loretta Lewis

"cannot breathe" as opposed to was "having trouble breathing".



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                                                 106.

        Defendants were to act as Loretta Lewis' voice to the Columbus 911 operator in Loretta

Lewis' most desperate time of need.

                                                 107.

        Defendants negligently handled Loretta Lewis' distress call, which resulted in emergency

personnel not treating Loretta Lewis for nearly twenty minutes after she activated her medical alert

device, although EMS were present, but not inside her home, while she was dying from an inability

to breathe.

                                                 108.

       Absent Defendants' negligence, Ms. Lewis' death could have been avoided.

                                                 109.

       The A vantGuard Monitoring operator who answered Loretta Lewis' call failed to follow

standard practices, policies and procedures that are required for a proper response to a distress call

for emergency services.

                                                 110.

       For example, among other things, the operator failed to stay on the line with Loretta Lewis,

failed to request and/or relay information concerning entry to Loretta Lewis' property, and failed

to accurately relay the nature and severity of Loretta Lewis emergency to local responders,

including the fact that she suffered from COPD.

                                                 111.

       Defendants negligently failed to properly triage Loretta Lewis.




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                                               112.

        Defendants negligently failed to properly identify where Loretta Lewis was located in her

home.

                                               113.

        Defendants negligently failed to alert medical personnel of Loretta Lewis' medical history.

                                               114.

        Defendants' failure to relay accurate and complete information to Columbus 9-1-1 dispatch

on behalf of Loretta Lewis concerning the nature and severity of her emergency, resulted in her

hospitalization and death.

                                               115.

        MedScope is also liable for the negligent acts and omissions of its partner and agent,

A vantGuard Monitoring.

                                               116.

        An individual's claim for wrongful death and an estate's claim for the decedent's pain and

suffering are distinct causes of action. See generally O.C.G.A. §§ 51-4-2(a), 51-4-S(b).

                                               117.

        Eric Brown in his individual capacity and in his capacity as administrator are legally

different persons.

                                               118.

        As the surviving child of Loretta Lewis and Administrator of her estate, Eric Brown is

entitled to recover damages for the full value of the life of Loretta Lewis caused by Defendants'

wrongful death of Loretta Lewis.




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                                                119.

        Eric Brown is entitled to recover for the pain and suffering Loretta Lewis suffered prior to

her death.

                                                120.

       As a direct proximate cause of Defendants' conduct, Eric Brown as the surviving child of

Loretta Lewis is entitled to recover damages for the full value of Loretta Lewis' life.

                                                121.

       As a direct proximate cause of Defendants' conduct, Eric Brown as the Administrator of

Loretta Lewis' Estate is entitled to recover for the conscious pain and suffering Loretta Lewis

suffered prior to her death.

                               COUNT FOUR - ATTORNEYS' FEES

                                                122.

       Plaintiff incorporates paragraphs 1 through 121 herein.

                                                123.

       The conduct of Defendants alleged throughout this Complaint evidences bad-faith and a

willful and wanton disregard for the safety of others, including Plaintiff.

                                                124.

       Defendants have acted in bad faith, have been stubbornly litigious, and have caused

Plaintiff unnecessary trouble and expense, entitling her to recover attorneys' fees and expenses

under O.C.G.A. § 13-6-11.

                                                125.

       Defendants have violated Georgia's Fair Business Practices Act and the UDPTEA, which

violations warrant an award of attorneys' fees and expenses.



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                             COUNT FIVE - PUNITIVE DAMAGES

                                                  126.

        Plaintiff incorporates paragraphs 1 through 125 herein.

                                                  127.

        The conduct of the Defendants alleged throughout this Complaint evidences bad-faith and

a willful and wanton disregard for the safety of others, including Plaintiff.

                                                  128.

        Defendants are liable for punitive damages for their willful, malicious, and reckless

conduct and specific intent to cause harm to Loretta Lewis.

                                                 129.

        Defendants' violation of Georgia's Fair Business Practices Act and the UDPTEA warrant

an award of punitive damages.

                              COUNT SIX -TREBLE DAMAGES

                                                 130.

        Plaintiff incorporates paragraphs 1 through 129 herein.

                                                 131.

        Pursuant to O.C.G.A. § 10-1-390 et. seq., Plaintiff provided written notice of her Georgia

Fair Business Practices Act claim to Defendants prior to filing this lawsuit.

                                                 132.

        Pursuant to O.C.G.A. § 10-1-390 et. seq., Plaintiff provided Defendants with an

opportunity to resolve this matter prior to filing this lawsuit.

                                                 133.

       Defendants refused to offer anything to Plaintiff to resolve this matter.



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                                                134.

       Pursuant to O.C.G.A. § 10-1-390 et. seq., Defendants are liable for Plaintiffs actual

damages in an amount to be determined at trial, which should be trebled for their intentional

conduct.

                                                135.

       Defendants are liable for Plaintiffs attorney's fees for their unlawful and deceptive

conduct.

                                      PRAYER FOR RELIEF

       WHEREFORE, Eric Brown, individually and as Administrator of the Estate of Loretta

Lewis, prays for judgment against Defendants as follows:

            1. That Summons be issued requiring Defendants to appear as provided by law to
               answer this Complaint;

            2. That Eric Brown recover compensatory damages, general damages and special
               damages as permitted under Georgia law;

            3. That Eric Brown recover his expenses of litigation and attorneys' fees;

            4. That Eric Brown recover punitive damages as permitted under Georgia law;

            5. That Eric Brown's damages be trebled pursuant to Georgia's Fair Business
               Practices Act;

            6. For a trial by a jury; and

            7. For such other and further relief as is allowed by law and as the Court may deem
               just and proper.

       Respectfully submitted, this   --3:"i yof May, 2021.

                                                              c~~~
                                                              Charles A. Gower
                                                              Georgia Bar No. 303500
                                                              Miranda J. Brash


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                                       Georgia Bar No. 475203
                                       Shaun O'Hara
                                       Georgia Bar No. 749503




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